Case 18-52051-jwc           Doc 35       Filed 06/08/18 Entered 06/08/18 10:39:39     Desc Main
                                         Document      Page 1 of 6


 BARRETT DAFFIN FRAPPIER TURNER & ENGEL, LLP                               BDFTE# 00000007622210
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 Attorney for U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF9 MASTER PARTICIPATION TRUST


                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


 IN RE:                                                 § CASE NO. 18-52051-JWC
                                                        §
 MURRAY STEPHEN KASMENN,                                §
    Debtor                                              § CHAPTER 13
                                                        §
 U.S. BANK TRUST, N.A., AS                              §
 TRUSTEE FOR LSF9 MASTER                                §
 PARTICIPATION TRUST,                                   §
      Movant                                            § CONTESTED MATTER
                                                        §
 v.                                                     §
                                                        §
 MURRAY STEPHEN KASMENN;                                §
 NANCY J. WHALEY, Trustee                               §
    Respondents                                         §


       MOTION OF U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF9 MASTER
      PARTICIPATION TRUST FOR RELIEF FROM STAY OF ACTION AGAINST
      DEBTOR PURSUANT TO 11 U.S.C. § 362(a) AND WAIVER OF THIRTY DAY
                   REQUIREMENT PURSUANT TO § 362(e)

  TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF9 MASTER

  PARTICIPATION TRUST, Movant, by and through the undersigned attorney, and moves the

  Court as follows:

        1.       This Motion is brought pursuant to 11 U.S.C. §362(d) in accordance with Rule

 4001 of the Bankruptcy Rules.

        2.       On or about February 05, 2018, MURRAY STEPHEN KASMENN (hereinafter

 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000007622210                             Page 1 of 6
Case 18-52051-jwc           Doc 35       Filed 06/08/18 Entered 06/08/18 10:39:39        Desc Main
                                         Document      Page 2 of 6


 "Debtor") filed a petition for an order of relief under Chapter 13 of the Bankruptcy Code.

        3.       At the time of filing the Chapter 13 petition, Movant held a ARM Note executed

 on January 21, 2005, by JENNIFER L KASMENN and MURRAY S. KASMENN in the

 original amount of TWO HUNDRED SEVENTY THOUSAND DOLLARS AND ZERO

 CENTS ($270,000.00) with interest thereon at an adjustable rate as stated in the ARM Note.

 A true and correct copy of the ARM Note is attached hereto as Exhibit "A".

       4.        The indebtedness is secured by a Security Deed dated January 21, 2005 and

 executed by JENNIFER L KASMENN and MURRAY S. KASMENN on real estate with all

 improvements known as:




        MORE COMMONLY KNOWN AS: 4229 HIGHBORNE DR, MARIETTA,
        GEORGIA 30066

 A true and correct copy of the Security Deed is attached hereto as Exhibit "B".

        5.       Debtor failed to maintain current the post-petition payments due under the ARM

 Note and as of May 23, 2018, Debtor is in arrears for:

                 3 payment(s) which represents payment(s) for March 01, 2018 through
                 May 01, 2018 ($1,914.30 each) totaling $5,742.90

                 Less debtor suspense funds of $1,914.00 for total post petition arrears of
                 $3,828.90

        6.       The outstanding indebtedness to Movant is $213,376.52 principal plus accrued

 interest, late charges, attorneys fees and costs as provided in the ARM Note and Security


 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000007622210                                 Page 2 of 6
Case 18-52051-jwc           Doc 35       Filed 06/08/18 Entered 06/08/18 10:39:39          Desc Main
                                         Document      Page 3 of 6


 Deed.

         7.      In accordance with the terms of the ARM Note and Security Deed, Movant would

 allege that it is entitled to reasonable post-petition attorneys fees, including, but not limited to,

 fees, if any, for the preparation and filing of a proof of claim and fees and costs for the filing of

 this Motion for Relief from Stay. Specifically Movant requests attorney fees of $850.00 and

 costs of $181.00 for the filing of this Motion. Any recoverable fees will be recovered through

 an Agreed Order on this Motion or in a post petition fee notice, with any amounts adhering to

 applicable jurisdictional fee allowances.

       8.        Debtor has failed to provide adequate protection to Movant which constitutes

 cause to terminate the automatic stay of 11 U.S.C. §362(e).

         9.      By reason of the foregoing, Movant requests the Court to terminate the stay so

 Movant may proceed to foreclose in accordance with its ARM Note and Security Deed.

       10.       Movant reserves the right to assert an 11 U.S.C. § 362(d)(2) Cause of Action, if

 appropriate, at the hearing on Movant's Motion for Relief.

         WHEREFORE, Movant prays that this Court enter an Order, after notice and hearing,

 terminating the automatic stay as to Movant and waives right to hearing within thirty (30) days

 as provided by 11 U.S.C. 362(e); alternatively Movant may be made whole by having all post

 petition payments, fees and costs brought current. Movant further prays that upon termination

 of the automatic stay, the pre-petition arrears shall no longer be funded under the Chapter 13

 Plan, the post petition payments shall no longer be required & 11 U.S.C. § 1322 (b)(5) shall no

 longer be applicable, therefore Movant and Trustee shall no longer be subject to the

 subsequent notice requirements of Federal Rule of Bankruptcy Procedure 3002.1 with regard

 to the above-described property and that the Court waive the provision of Rule 4001(a)(3) and

 that Movant be permitted to immediately enforce and implement any order granting relief from
 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000007622210                                  Page 3 of 6
Case 18-52051-jwc           Doc 35       Filed 06/08/18 Entered 06/08/18 10:39:39      Desc Main
                                         Document      Page 4 of 6


 the automatic stay; that Movant be awarded its reasonable post-petition attorneys fees and

 expenses for this Motion; and, that Movant be granted such other and further relief as is just.



                                            Respectfully submitted,

                                            BARRETT DAFFIN FRAPPIER
                                            TURNER & ENGEL, LLP



                                     BY: /s/ BRANDI R. LESESNE                        06/08/2018
                                         BRANDI R. LESESNE
                                         GA NO. 141970
                                         4004 BELT LINE ROAD SUITE 100
                                         ADDISON, TX 75001
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                                         ATTORNEY FOR MOVANT




 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000007622210                              Page 4 of 6
Case 18-52051-jwc           Doc 35       Filed 06/08/18 Entered 06/08/18 10:39:39          Desc Main
                                         Document      Page 5 of 6




                                      CERTIFICATE OF SERVICE

        I hereby certify that on June 08, 2018, true and correct copy of the foregoing Notice of

Hearing and Motion for Relief from Stay as to Debtor was served via electronic means as listed

on the Court's ECF noticing system or by regular first class mail to the parties on the attached

list.




                                           Respectfully submitted,

                                           BARRETT DAFFIN FRAPPIER
                                           TURNER & ENGEL, LLP



                                            /s/ BRANDI R. LESESNE                          06/08/2018
                                            BRANDI R. LESESNE
                                            GA NO. 141970
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 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000007622210                                  Page 5 of 6
Case 18-52051-jwc           Doc 35       Filed 06/08/18 Entered 06/08/18 10:39:39   Desc Main
                                         Document      Page 6 of 6


 DEBTOR:
 MURRAY STEPHEN KASMENN
 4229 HIGHBORNE DRIVE NE
 MARIETTA, GA 30066

 MURRAY STEPHEN KASMENN
 4229 HIGHBORNE DR
 MARIETTA, GA 30066

 CO-DEBTOR:
 JENNIFER L KASMENN
 4229 HIGHBORNE DRIVE NE
 MARIETTA, GA 30066

 JENNIFER L KASMENN
 4229 HIGHBORNE DR
 MARIETTA, GA 30066

 TRUSTEE:
 NANCY J. WHALEY
 303 PEACHTREE CENTER AVE.
 SUITE 120
 ATLANTA, GA 30303

 DEBTOR'S ATTORNEY:
 HOWARD P. SLOMKA
 2859 PACES FERRY RD, SE
 ATLANTA, GA 30339

 PARTIES IN INTEREST:
 CITIMORTGAGE
 PO BOX 689196
 DES MOINES, IA 50368-9196

 INTERNAL REVENUE SERVICE
 PO BOX 7346
 PHILADELPHIA, PA 19101-7346

 PARTIES REQUESTING NOTICE:
 U.S. BANK, TRUST, N.A., AS TRUSTEE FOR LSF9 MASTER PARTICIPATION TRUST
 ANDREA BETTS
 10700 ABBOTT'S BRIDGE ROAD, SUITE 170
 DULUTH, GA 30097




 bkgabk_MFR.rpt-17/MFR/DEBTOR/Northern/Atlanta/00000007622210                         Page 6 of 6
